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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JOHN DOE, an individual,

      Plaintiff,

vs.                                            Case No.: 18-cv-11776
                                               Hon. Arthur J. Tarnow
                                               Mag. Elizabeth A. Stafford
UNIVERSITY OF MICHIGAN (as to Title
IX violations), et, al.,

      Defendants.


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         PLAINTIFF’S REPLY TO DEFENDANTS’ RESPONSE TO
                    MOTION FOR TEMPORARY
        RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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      Defendants’ argument fails.      They are unable to cite to any case which

approves of the process contained in their convoluted Sexual Misconduct Policy.

But even if they were correct, and a private interview with the OIE investigator

provided due process on the basis that the investigator could assess credibility, the

Policy is still unconstitutional because the OIE investigator is not the “ultimate fact

finder” as Defendants claim. Defs.’ Br. at 20 (Dkt. #21). Defendants intentionally

misstate how the Policy works. It provides for an appeal where an “external

reviewer” has the authority, without seeing or hearing from anyone, to set aside the

investigator’s report and findings and substitute his own, which are final. This fact is

fatal to Defendants’ argument. Nor do Defendants make any attempt to explain, as a

matter of law, why they do not allow students accused of sexual misconduct the

same due process protections they already provide to all other students.

I.    Plaintiff’s claim is ripe.

      Defendants erroneously argue that Plaintiff’s claim is not ripe. To determine

ripeness, the Court considers three factors: “(1) the likelihood that the harm alleged

by the plaintiff[] will ever come to pass; (2) whether the factual record is sufficiently

developed to produce a fair adjudication of the merits of the parties’ respective

claims; and (3) the hardship to the parties if judicial relief is denied at this stage in




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the proceedings.” Berry v. Schmitt, 688 F.3d 290, 298 (6th Cir. 2012). Here,

Plaintiff satisfies all three factors.

       The harm alleged by Plaintiff – the deprivation of his liberty and property

interest – has already occurred. “[A]llegations of sexual assault may ‘impugn [a

student’s] reputation and integrity, thus implicating a protected liberty interest.”

Doe v. Univ. of Cincinnati, 872 F.3d 393, 399 (6th Cir. 2017) (quoting Doe v.

Cummins, 662 Fed. App’x 437, 445 (6th Cir. 2016) (alternations in original). Here,

Plaintiff has been falsely accused of sexual assault. Furthermore, although

Defendants released his official transcript after Plaintiff’s Motion was filed,

Plaintiff was deprived of credentials showing he had graduated for approximately

50 days, during a pivotal period when he was attempting to finalize plans for

graduate school. Plaintiff is still subject to expulsion, suspension, or revocation of

his degree pursuant to Defendants’ “No Contact Directive,” which significantly

limits his ability to move freely about, or to participate in activities, including

“social or public event[s].” Ex. C, No Contact Directive and Email from Defendant

McFadden. The Sixth Circuit has explained that “[w]hen constitutional rights are

threatened or impaired, irrepable injury is presumed.” Obama for Am. v. Husted,

697 F.3d 423, 436 (6th Cir. 2012). Accordingly, because Plaintiff’s constitutional

rights have been both threatened and impaired, the harm he has suffered is

sufficient under the ripeness inquiry. The harm Plaintiff has suffered is also not


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speculative, because he has already been denied proper and complete notice of the

charges against him, and under no circumstances will Defendants provide Plaintiff

with the opportunity to cross examine witnesses (even in a circumscribed manner)

during a live hearing. See Doe v. Univ. of Cincinnati, 872 F.3d 393, 406 (6th Cir.

2017); Ex. B, Policy at 23-29.

      Defendants erroneosuly analogize this case to Doe v. The Ohio State Univ.,

136 F. Supp. 3d 854 (S.D. Ohio 2016). There, the court held that the plaintiff’s

claim was not ripe because he had not yet completed the university’s disciplinary

process, which would have afforded him an opportunity to be heard and cross

examine adverse witnesses. Id. at 864. In stark contrast, here, the University’s

procedure for students accused of sexual misconduct lacks any type of live hearing

or opportunity to cross examine live witnesses. Thus, there are no “contingent

future events” that could result in constitutionally sufficent process for Plaintiff. Id.

      Plaintiff’s claim also satisfies the second and third factors of the ripness test.

The factual record is sufficiently developed to produce a fair adjuication of his

claim – on its face, the Policy denies Plaintiff procedural due process. Finally,

without the Court’s intervention in Defendants’ unlawful procedures, the hardship

to Plaintiff is substantial as irrepable injury is presumed in this context.

II.   The Policy lacks the requisite due process protections.

       A.    Questioning by the OIE investigator in a private meeting does not
             satisfy due process requirements.
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      Defendants have no case law to rely on in support of their flawed, separate

Policy which prohibits a hearing or cross examination for students accused of

sexual misconduct. Hence, they seek support from inapplicable cases such as Goss,

taking the position that “’[a]n informal give-and-take between student and

disciplinarian’ is sufficient,” Defs.’ Br. at 18, even though Goss specifically states

“[w]e should also make it clear that we have addressed ourselves solely to the short

suspension, not exceeding 10 days. Longer suspensions or expulsions . . . may

require more formal procedures.” Goss v Lopez, 419 U.S. 565, 584 (1975).

       In fact, Doe v. Univ. of Cincinnati, 872 F.3d 393, 399 (6th Cir. 2017)

controls. Defendants admit that cross examination is required in a “credibility

contest.” But they erroneously argue that because the Policy provides for the OIE

investigator to meet with the parties she can “access credibility” and this

“comports” with the due process requirements of Cincinnati. Defendants’

argument fails for two reasons. First, Cincinnati does not stand for the proposition

that it is only important that the fact finder be able to access credibility. Rather, the

student is the natural driver of questions to be put to the accuser. It is his

educational future that is at stake and the University is playing a role that is

presumably neutral. 1 As a matter of law, cross examination is designed to assist the


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      Moreover, University officials may not pose questions that are at all
adversarial or pointed to claimants. The University of Michigan Sexual Assault
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accused student as well the fact finder. As the Sixth Circuit explained, the burden

is on the accused and accuser to become the “cross-examiner [who] may ‘delve

into the witnesses story to test the witnesses’ perceptions and memory” and

“expose testimonial infirmities such as forgetfulness, confusion or evasion . . .

thereby calling to the attention of the fact finder the reasons for giving scant weight

to the witnesses’ testimony.” Id. at 402. The Court made clear that allowing the

accused to “confront and question” the accussor would aid the “truth seeking

process.” Id at 404. The Cincinnati Court also explained that if a case depends on

“credibility,” then cross examination may be “essential to a fair hearing” to ensure

that the parties have the opportunity to “listen to and observe” testimony. See id. at

401-04.

      Second, the Policy provision that allows the parties to “suggest questions” to

the investigator who will then decide whether or not to privately put the question to

and Prevention Awareness Center (which reports to Defendant E. Royster Harper)
advises any supporter to “[b]elieve what the survivor is telling you. No matter
what, the survivor is not to be blamed.” See https://sapac.umich.edu/article/sapac-
general-information#HowToSupport. The President of the University signed the
March 25, 2016, Proclamation in support of the “Start by Believing” Public
Awareness Campaign. This Campaign is part of the End Violence Against Women
International Program, the purpose of which is to promote automatic belief in
whatever a “victim” says. See University of Michigan Proclamation,
https://storage.googleapis.com/dpss-wordpress-prod/2/2017/03/proclamation.pdf.
The concept of “survivor” and the requirement to “believe” has found its way into
Defendants’ Response. Defendants describe what Plaintiff is accused of as “rape,”
a word not contained in the Policy or in Michigan statutes. OIE investigator
Suzanne McFadden uses the word “raped” in her affidavit and suggests in ¶ 17 that
Plaintiff has wrongly changed his story. Dkt. #21-1 (Ex. 2 at 1, 8).
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the accuser, Ex. B, Policy at 23, is not a substitute for cross examination and the

ability to observe responses. The Policy does not require the investigator to re-

interview the parties once questions are suggested, and on information and belief,

the investigator poses additional questions via email, where there is no opportunity

for observation of credibility.

       B.    The Policy calls for an external reviewer, who never assesses
             credibility, to be the ultimate fact finder.

       Defendants falsely state that the OIE investigator “is the ultimate fact

finder.”2 Either party may appeal the investigator’s findings to an “external

reviewer” who is the ultimate fact finder and has the “authority” to determine what

evidence should be considered and the weight it should be given. See Ex. B, Policy

at 35-36. The external reviewer may reverse the findings of the investigator and

send the matter directly to the sanctioning phase. Id. It is uncontested that this

external reviewer never has an opportunity to personally assess credibility. Thus,

regardless of the OIE investigator’s interview process, the Policy remains

unconstitutional because the external reviewer can reverse the investigator without

holding a hearing. See Cincinnati, 872 F.3d at 401.

III.   Defendants should provide full cross examination for students accused
       of sexual assault, as they do for students accused of other misconduct.

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       Defendants also falsely state that the appeal is conducted by a “retired
federal judge.” In fact, the external reviewer is “most often an attorney outside of
the University with significant legal experience, knowledge and judgement” and
“will be chosen by the Office of General Counsel.” (Ex. B at 34-35).
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       Due process protections are essential here because a finding of sexual

 misconduct by Defendants is quasi-criminal in nature in that it would place a

 “lifetime of stigma and preclusion from further educational and employment

 opportunities.” See Doe v. Miami Univ., 882 F.3d 578, 602 n.8 (6th Cir. 2018).

 Although Defendants provide for full cross examination for students accused of

 other forms of misconduct, students accused of sexual misconduct are stripped of

 this due process protection. Students accused of anything other than sexual

 misconduct have access to all information and have the right to question the

 complainant, the Resolution Coordinator, and all witnesses. Ex. A, Statement at 7.

 Therefore, by permitting this same process for students accused of sexual

 misconduct, Defendants would not suffer an additional burden. See Matthews v.

 Eldridge, 424 U.S. 319, 334-35 (1976). The only reason that the Cincinnati Court

 approved of the school’s existing procedure of suggesting written questions to

 witnesses was because, unlike here, the school was “ill-equipped” to oversee cross

 examination. Cincinnati, 872 F.3d at 404.

 IV.   Defendants will not be harmed by a TRO.

       Defendants would not be harmed if the TRO is granted. Requiring the

 University to modify its unconstitutional procedures “midstream” would only

 ensure that other students are not deprived of their constitutional rights as well.

 Defendants erroneously rely on Doe v. Ohio State Univ. to support their claim that
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 altering their policy would place their federal funding in jeopardy. Plaintiff does

 not allege that the University did not have jurisdiction to investigate the allegation

 of misconduct, rather, the University’s current procedures fail to pass

 constitutional muster.

                                        Respectfully submitted,

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 DATED: June 19, 2018

                          CERTIFICATE OF SERVICE

        I hereby certify that on June 19, 2018, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system, which will send
 notification of such filing and service of said documents to all parties through their
 counsel of record.
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